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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 22-61245-CIV-DIMITROULEAS

  MAYRA MARTINEZ RAMOS,

         Plaintiff,

  vs.

  SHEEHAN BUICK GMC, INC.,
  a Florida corporation,

        Defendant.
  ___________________________________/

                                        FINAL JUDGMENT

         THIS CAUSE is before the Court upon the Plaintiff’s Notice of Acceptance of

  Defendant’s Offer of Judgment (the “Notice”) [DE 13], filed herein September 16, 2022. The

  Court has carefully considered the Notice, the Offer of Judgment dated September 6, 2022 [DE

  13-1], and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1.             Judgment is hereby entered in favor of Plaintiff Mayra Martinez Ramos

                        and against Defendant Sheehan Buick GMC, Inc. in the amount of

                        $7,000.00.

         2.             This above-styled action is hereby DISMISSED WITH PREJUDICE.

         3.             The Court notes that the Offer of Judgment includes language stating that

                        the judgment satisfies “all claims asserted in this case, including claims for

                        reasonable attorneys’ fees and costs accrued through the date of this Offer

                        of Judgment.” [DE 13-1] at ¶ 2.
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         5.            The Clerk shall CLOSE this case and DENY any currently pending

                       motions [DE 12] as MOOT.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 16th day of September, 2022.




  Copies to:
  Counsel of record
